                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


JOHN DOE                                               :
                                                       :
       Plaintiff                                       :                 CIVIL ACTION NO.:
                                                       :                 3:15-CV-01608 (AVC)
vs.                                                    :
                                                       :
YALE UNIVERSITY, Et Al                                 :
                                                       :                 JANUARY 5, 2018
       Defendants                                      :

                      STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41, plaintiff and defendant hereby stipulate that this case may

be dismissed with prejudice, each side to bear its own costs and fees.


                                                       THE PLAINTIFF,
                                                       JOHN DOE

                                                  BY:___           /s/
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                                                       THE DEFENDANT,
                                                       YALE UNIVERSITY


                                                  BY:___           /s/
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       ________/s/_______________________
                                                          Patrick M. Noonan




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